             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

VOTEAMERICA, et al.,

                Plaintiffs,

                  v.                      Civil Action No.: 1:21-CV-1390-JPB

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State for the State of Georgia, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.


         STATE DEFENDANTS’ SUPPLEMENTAL BRIEF
      REGARDING THE EXPRESSIVE CONDUCT STANDARD
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                              INTRODUCTION

      As State Defendants demonstrated in their motion for summary

judgment [Doc. 149], Plaintiffs do not engage in expressive conduct to which

“the First Amendment even applies” when they mail absentee-ballot

applications. [Doc. 149-1 at 10] (quoting Clark v. Cmty. for Creative Non-

Violence, 468 U.S. 288, 293 n.5 (1984)). Rather, any expressive conduct is

limited to the cover letters Plaintiffs send alongside those applications. See id.

at 11. For that reason, the Supreme Court’s Johnson standard confirms that

Plaintiffs’ mailing of an absentee-ballot application alone could not be

“understood by those who viewed it” to “convey a particularized message.”

Texas v. Johnson, 491 U.S. 397, 404 (1989).

      In its recent summary-judgment decision, this Court nevertheless

concluded, based on the present record, “that a genuine issue of fact exists as

to whether the absentee ballot applications convey some sort of message.”

[Doc. 179 at 22]. In reaching this conclusion, the Court stated that the parties

had not addressed several relevant factors that the Eleventh Circuit discussed

in Burns v. Town of Palm Beach, 999 F.3d 1317 (11th Cir. 2021). [Doc. 179

at 21–22].   State Defendants thus provide this supplemental brief, which

explains why the Burns factors also weigh against concluding that Plaintiffs

engage in expressive conduct when they merely send absentee-ballot
applications,   independent   of    any       cover   letters   the   Plaintiffs   may

simultaneously provide.

                                   ARGUMENT

      The Supreme Court has long held that the First Amendment protects

expressive conduct when it functionally operates as speech. See Johnson, 491

U.S. at 404. That occurs, the Eleventh Circuit explains, when: (1) the conduct

shows “[a]n intent to convey a particularized message”; and (2) “the

surrounding circumstances” show a “great” “likelihood … that the message

would be understood by those who viewed it.” Holloman ex rel. Holloman v.

Harland, 370 F.3d 1252, 1270 (11th Cir. 2004) (quoting Spence v. Washington,

418 U.S. 405, 410–11 (1974)). Thus, according to the Eleventh Circuit, the

question is “whether the reasonable person would interpret” the conduct—

here, sending prefilled and duplicate absentee-ballot applications—as

communicating “some sort of message[.]” Id. As discussed below, a reasonable

person would not interpret Plaintiffs’ mere mailing of an absentee-ballot

application—independent of the cover letter included in such a mailing—as

communicating any message.

      1. The Eleventh Circuit has identified several factors that courts may

use to make such a determination. Although the Court correctly pointed to

Burns as identifying these factors, the Eleventh Circuit in Burns was

discussing that court’s earlier decision in Fort Lauderdale Food Not Bombs v.


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City of Fort Lauderdale, 901 F.3d 1235 (11th Cir. 2018), which sets forth the

expressive conduct standard for this Circuit.        According to the Eleventh

Circuit, conduct remains no more than a meaningless “symbol” without some

“context” that “may give meaning to the symbol.” Id. at 1241 (quoting Spence,

418 U.S. at 410). Thus, in this Circuit, it is “the circumstances surrounding an

event [that] often help set the dividing line between activity that is sufficiently

expressive and similar activity that is not.” Id. (emphasis added) (citing Hurley

v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 568 (1995)

(walking vis-à-vis parades); Brown v. Louisiana, 383 U.S. 131, 141–42 (1966)

(sitting down vis-à-vis a sit-in); Barnes v. Glen Theatre, Inc., 501 U.S. 560, 565–

66 (1991) (nudity vis-à-vis “marginally” expressive nude dancing)).

      In Food Not Bombs itself, the Eleventh Circuit identified five reasons

that “the surrounding circumstances” in that case “would lead the reasonable

observer to view the conduct as conveying some sort of message.” 901 F.3d

at 1242.   Those five reasons were: (1) the plaintiff intended to distribute

literature or hang banners in connection with its expressive activity, id. (citing

Hurley, 515 U.S. at 570); (2) the activity was open to all, id.; (3) the activity

took place in a traditional public forum, id. (citing Spence, 418 U.S. at 410;

Johnson, 491 U.S. at 406); (4) the activity addressed an issue of public concern,

id. at 1243 (citing Spence, 418 U.S. at 410; Johnson, 491 U.S. at 406; Tinker v.

Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 505 (1969)); and (5) the


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activity had been understood to convey a message over the millennia, id. (citing

Johnson, 491 U.S. at 405).

      As noted, these are the same “contextual guidelines” that the Eleventh

Circuit later discussed in Burns. 999 F.3d at 1346. But the Eleventh Circuit

“d[id] not hold and ha[s] not said … that the[se] ... factors are ‘exclusive,’”

because “[t]here may be other factors that are relevant to whether” something

“is expressive conduct protected by the First Amendment.”         Id.   And the

Eleventh Circuit does not require that “every contextual factor has to weigh in

favor of the conduct being expressive.” Id.

      2. Applying these factors here, none of the factors in Burns or Food Not

Bombs fits the context surrounding Plaintiffs’ conduct. First, unlike a party

who distributes literature or hangs banners, the absentee-ballot applications

that Plaintiffs mail contain no messages, and they cannot contain Plaintiffs’

messages because they are state-created forms. See [Doc. 149-5]. The entirety

of Plaintiffs’ own speech is contained in separate cover letters, which they can

still send without restriction. See id. Second and third, Plaintiffs’ mailings

are targeted at specific areas and groups of people; they are neither open to all

nor do they take place in a traditional public forum. Lopach Dep. at 86:11–13

[Doc. 162] (Voter Participation Center targets “people of color, unmarried

women, and young people”); id. at 86:18–22 (Center for Voter Information

targets those “wanting to see the New American Majority participate in


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elections at their full strength”); id. at 87:18–88:18 (admitting that Plaintiffs

do not target all people of color or unmarried women in Georgia). Fourth,

Plaintiffs’ views about voting might involve an issue of public concern, but

those views appear exclusively in their cover letters, not in prefilled or

duplicate absentee-ballot applications themselves. See [Doc. 149-5]. Finally,

mailing prefilled or duplicate applications has never, in and of itself, been

understood to convey a message, much less a millennia-spanning one.

Accordingly, the context-focused factors that the Eleventh Circuit discussed in

both Burns and Food Not Bombs confirm that Plaintiffs are not engaged in

expressive conduct when they send absentee-ballot applications.

      3. The same is true if the Court looks beyond the five factors that the

Eleventh Circuit discussed in Burns and Food Not Bombs.           Indeed, since

Burns, the Eleventh Circuit’s decisions analyzing whether conduct was

expressive have omitted discussing any of these factors. See, e.g., NetChoice,

LLC v. Attorney General, 34 F.4th 1196 (11th Cir. 2022), cert. granted in part

sub nom. Moody v. NetChoice, LLC, 144 S. Ct. 478 (2023) (mem.) and denied

sub nom. NetChoice, LLC v. Moody, 144 S. Ct. 69 (2023) (mem.). Thus, the

Court need not confine itself to the five factors that the Eleventh Circuit

discussed in Burns and Food Not Bombs. Rather, in NetChoice, the Eleventh

Circuit pointed to “our general standard for what constitutes inherently

expressive conduct protected by the First Amendment” in Coral Ridge


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Ministries Media, Inc. v. Amazon.com, Inc., 6 F.4th 1247, 1254 (11th Cir. 2021),

which “built on our earlier decision in Fort Lauderdale Food Not Bombs.” 34

F.4th at 1212. According to the Eleventh Circuit in NetChoice, the focus is

simply “whether the reasonable person would interpret it as some sort of

message, not whether an observer would necessarily infer a specific message.”

Id. (quoting Coral Ridge Ministries, 6 F.4th at 1254).

      Although the Eleventh Circuit concluded in NetChoice that social-media

platforms’ content-moderation conduct was expressive, it did not wade through

the various Burns factors. Id. at 1210–14. Instead, the Court compared the

relevant activity to the closest analogous cases—Hurley and its predecessors—

and decided that the conduct at issue was expressive without evaluating any

other “factors.” Id.

      Here, the NetChoice approach of focusing on the “reasonable person”

standard also confirms that Plaintiffs’ conduct is not expressive.           No

reasonable person would perceive any “sort of message” merely from receiving

an unsolicited, prefilled, or duplicate absentee-ballot application. This Court

need look no further than the expressive and non-expressive conduct that the

Eleventh Circuit distinguished in Food Not Bombs. See 901 F.3d at 1241

(walking, sitting down, and nudity vis-à-vis parades, a sit-in, and nude

dancing). Standing alone, the acts of prefilling absentee-ballot applications

and sending multiple applications to potential voters are not inherently


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expressive and are more akin to “the physical activity of walking,” not “the

expressive conduct associated with a picket line or a parade.” Id. No one needs

to be told that a large group of people moving down the road is a parade or

picket-line instead of a group out for a walk.

      In contrast, no one here would discern any message from Plaintiffs’ mere

conduct in sending prefilled or duplicate absentee-ballot applications to

potential voters, absent Plaintiffs’ cover letter. Moreover, if Plaintiffs’ conduct

is expressive simply because someone might infer that Plaintiffs believe that

the mailed document is important, that sets the bar so low that nearly all

conduct would be deemed expressive. Indeed, as the Ninth Circuit explained,

collecting ballots does not become expressive conduct simply because the

harvesters believe “that voting is important.” Feldman v. Ariz. Sec’y of State’s

Off., 843 F.3d 366, 392 (9th Cir. 2016). The fact that the collector perceives a

value (or even a message) in her own conduct does not make that conduct

expressive. So too here: The fact that Plaintiffs perceive value in their efforts

to send absentee-ballot applications to certain groups of people does not make

Plaintiffs’ bare conduct inherently expressive. Expressive conduct requires a

message that is conveyed to others, not just to oneself.

      Rather, it is inescapable that any externally expressive message comes

from Plaintiffs’ cover letter accompanying the applications. And that is no

doubt why Plaintiffs send cover letters with the absentee-ballot applications.


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That fact brings Plaintiffs’ conduct squarely within the Supreme Court’s

decision in Rumsfeld v. Forum for Academic & Institutional Rights, Inc., 547

U.S. 47 (2006), where the Court held that conduct that needs “explanatory

speech” to convey its message is not “so inherently expressive” as to warrant

First Amendment protections. Id. at 66. That is not to say that inherently

expressive conduct loses its expressive nature if it is also accompanied by other

speech. Food Not Bombs, 901 F.3d at 1243–44. But this case is a far cry from

an inherently expressive parade that also features paraders “carrying flags

and banners with all sorts of messages.” Id. at 1244 (quoting Hurley, 515 U.S.

at 569). Here, Plaintiffs’ conduct on its own does not convey any message. See

New Ga. Project v. Raffensperger, 484 F. Supp. 3d 1265, 1300 (N.D. Ga. 2020)

(neither collecting nor sending forms is expressive conduct), stay granted on

other grounds, 976 F.3d 1278 (11th Cir. 2020) (collecting cases). And, as the

Fifth Circuit confirms, “non-expressive conduct” in mailing forms “does not

acquire First Amendment protection whenever it is combined with another

activity that involves protected speech,” like Plaintiffs’ cover letters.    See

Voting for Am., Inc. v. Steen, 732 F.3d 382, 389, 392 (5th Cir. 2013).

                               CONCLUSION

      Whether or not the Court strictly applies the factors that the Eleventh

Circuit discussed in Burns or Food Not Bombs, the record confirms that the

reasonable viewer of Plaintiffs’ conduct would not infer any message.


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Otherwise, if silently mailing an absentee-ballot application were expressive

conduct protected by the First Amendment, it is hard to imagine what conduct

would not be considered expressive. The Court should reject such an expansive

view of Plaintiffs’ conduct and, in so doing, reject Plaintiffs’ attempt to

shoehorn their non-expressive conduct into the First Amendment.

     Respectfully submitted this 3rd day of April 2024.

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                    CERTIFICATE OF COMPLIANCE

      Under L.R. 7.1(D), the undersigned hereby certifies that the foregoing

State Defendants’ Supplemental Brief Regarding the Expressive Conduct

Standard has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(C).

                                    /s/Gene C. Schaerr
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